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                      IN THE UNITED STATES DISTRICT COURT      US DISTRICT COURT
                  FOR THE WESTERN DTSTRICT OF NORTH CAROLTNA WESTERN  D|STR|CT OF NC
                              CHARLOTTE DIVISION

                               CRIMINAL NO.: 3:l 5crl 2 I -RJC

LINITED STATES OF AMERICA                           )
                                                    )        CONSENT ORDER AND
       v.                                           )      JUDGMENT OF FORf'EITURE
                                                    )        PENDING RULE 32.2(c)(2)
(19) JOSE   MORAN-CELTS                             )

        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property  listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or
other legal interest in the property, IT IS HEREBY ORDERED THAT:

       1.      The follow,ing property is forfeited to the United States pursuant to 18 U.S.C. $
1963, provided, however, that forfeiture of specific assets is subject to any and all third party
petitions under 2l U.S.C. $ 853(n), pending finaladjudication herein:

   o One Rossi/Taurus model R35l .38 caliber revolver. serial number T83526 and
       ammunition
   r One Herbert Schmidt Sierra .38 caliber revolver. serial number 14804 and ammunition
   . Walther (imported by Smith & Wesson) model P22 .22 caliber pistol, serial number
       L207092 and ammunition
   r One HiPoint model C9 9mm pistol. serial number P1605838 and ammunition
   o One HiPoint model C9 9mm pistol. serial number Pl90l45 and arnmunition
   o One Pietro Beretta model 92FS 9mm pistol. serialnumber L776052 and ammunition
   r One Imbel (imported by Springfield) rnodel l9llAl .45 caliber pistol, serial number
       WW59604 and ammunition
   o   One Glock rnodel 26 9mm pistol, serial number NXD2l 0 and ammunition
   .   One CZ Model CZ52 9mm pistol. serial nurnber C07417 and ammunition
   r   One Hamington & Richardson model 732 .32 caliber revolver, serial number AD9l72
       and ammunition
   r   One HS Products (imported by Springfield) Model XD40 .40 caliber, serial number
       U5227 51 3 and ammunition
   o   One Charter Arms Undercover model .38 caliber revolver, serial number 431201 and
       ammunition
   .   One Colt .223 assault rifle. serial rrumber CCH0l8304 and ammunition
   r   One Taurus model PT709 Slirn 9mrn pistol. serial number THWl 5322 and ammunition
   .   Approxirnately'$987.00 in United States cuffency
   .   Approximately $120.00 in United States currency
   .   Approximately $3,338.00 in United States culrency
   o   One BB gun w/MS 13 etchings




  Case 3:15-cr-00121-RJC-SCR             Document 587        Filed 01/20/16      Page 1 of 3
    . One Keltec Pl I 9mm pistol, serial number A3M63 and ammunition
    o One Browning Buckmark 22 caliber pistol, serial number 655NT13216 and ammunition
        2.      The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3. If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n),
and/or other applicable law. the United States shall publish notice and provide direct written
notice of forfeiture.

       4.       Any person. other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

        5.      Pursuant to Fed. R. Crim. P. 32.2(bX3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identify. locate. or dispose of
the property, including depositions. interrogatories. and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6.      As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition. this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

         The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or traceable to proceeds of Defendant's crime(s) herein or property used in any
manner to facilitate the commission of such offense(s) and are therefore sr.rbject to forfeiture
pursuant to l8 U.S.C. $ 1963. The Defendant hereby waives the requirements of Fed. R. Crim. P.
32.2 and 43(a) regarding notice of the forfeitr.rre in the charging instrument, announcement of the
fbrfeiture at sentencing, and incorporation of the forfeiture in the judgrnent against Def'endant. If
the Defendant has previously submitted a claim in response to an administrative forfeiture
proceeding regarding any of this property, Defendant hereby withdraws that claim. If Defendant
has not previously submitted such a claim, Defendant hereby waives all right to do so. As to any
firearms listed above and/or in the charging instrument. Defendant consents to destruction by
fbderal, state, or local law enforcement authorities upon such legal process as they, in their sole
discretion deem to legally sufficient, and waives any and all right to further notice of such
process or such destruction.

JILL WESTMO ELAND ROSE



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               F.GREENE
WILLIAM M.MILLER                                        Defendant
Assistant United States Attomcys




  Case 3:15-cr-00121-RJC-SCR                Document 587          Filed 01/20/16        Page 2 of 3
                                     mCKY T.OS̀o,ESQ.
                                     Attorney fbr Defendant




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 Case 3:15-cr-00121-RJC-SCR   Document 587   Filed 01/20/16   Page 3 of 3
